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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 BRIAN A. FOGERTY
   ANDRÉ M. ESPINOSA
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-90 MCE
11
                                   Plaintiff,
12                                                       STIPULATION AND [PROPOSED] PROTECTIVE
                            v.                           ORDER REGARDING DISCOVERY
13
     ROBERT PIERRE DUNCAN,
14
                                  Defendant.
15

16

17          Pursuant to Fed. R. Crim. P. 16(d), 18 U.S.C. §§ 3509(d)(3) and 3771(a), the undersigned parties
18 stipulate and agree, and respectfully request that the Court order that:

19          1.      This Order pertains to all discovery provided to or made available to defense counsel that
20 contains the name of, or other potentially identifying information about, a minor victim or minor witness

21 (hereafter, collectively known as “protected discovery”).

22          2.      Defense counsel shall not disclose any of the protected discovery or its contents directly
23 or indirectly to any person other than their respective defendant/client, potential witnesses that they are

24 interviewing or preparing for trial, counsel for those witnesses, or anyone employed by defense counsel

25 (such as attorneys, paralegals, secretaries, experts, investigators, and law clerks) in connection with the

26 representation of the defendant in this criminal case.

27          3.      While the defendant is in custody, the defendant may view the protected discovery in the
28 presence of defense counsel and/or a defense investigator, but may not retain a copy or otherwise

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 1 disseminate the contents. If the defendant is released from custody, and requests a copy of his client file

 2 from defense counsel, the defendant may obtain a copy of the protected discovery, so long as defense

 3 counsel first redacts the victims’ names, the names of any minor witnesses, and any other information

 4 that could be used to identify the victim or minor witnesses before providing him with the copy he

 5 requests. The defendant agrees not to disclose the protected discovery or its contents in accordance with

 6 18 U.S.C. § 3509(d)(1).

 7          4.      The protected discovery and information therein may only be used in connection with the

 8 litigation of this case and for no other purpose.

 9          5.      In the event the defendant obtains habeas counsel, undersigned counsel may provide

10 habeas counsel with a copy of the protected discovery after habeas counsel has been provided a copy of

11 this Order. Habeas counsel shall also be held subject to this Order and must abide by its provisions

12 concerning defense counsel.

13          6.      Defense counsel will store the protected discovery in a secure place and will use

14 reasonable care to ensure that it is not disclosed to third persons in violation of this agreement or 18

15 U.S.C. § 3509(d).

16          7.      If defense counsel makes, or causes to be made, any further copies of any of the protected

17 discovery, defense counsel will ensure that the following notation is physically written or inscribed on

18 each copy made, if the confidentiality of the documents is otherwise not already present on the copied

19 file(s): “CONFIDENTIAL – May Not Be Disseminated Except in Accordance With Court Protective

20 Order.” For example, if defense counsel makes a copy of an audio or video file that falls within the

21 protections of this Protective Order, she must physically mark the copy of that file with:

22 “CONFIDENTIAL – May Not Be Disseminated Except in Accordance With Court Protective Order.”

23          8.      If defense counsel releases custody of any of the protected discovery, or authorized

24 copies thereof, to any person described in paragraph two, defense counsel shall first provide such

25 recipients with copies of this Order. The parties agree that defense counsel, defense investigators and

26 support staff shall not provide the protected discovery to the defendant or any other witness or copies of

27 the protected discovery, except for the limited situations identified in this Order.

28          9.      Defense counsel shall advise the government counsel of any subpoenas, document

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 1 requests or claims for access to the protected discovery by third parties if defense counsel is considering

 2 disseminating any of the protected discovery to a third party in order that the government may take

 3 action to resists or comply with such demands as it may deem appropriate.

 4          10.    Defense counsel shall be responsible for advising the defendant, or her client, her

 5 employees and other members of the defense team, and defense witnesses of the contents of this Order.

 6 Defense counsel shall not provide or make available to any person described in paragraph two the

 7 protected discovery until that individual has been provided a copy of this Order by defense counsel.

 8          11.    The parties agree to abide by 18 U.S.C. § 3509(d)(2) with regard to court filings.

 9          12.    If it becomes necessary to refer to a victim or child witness during any public court

10 proceeding or in a public court filing, the parties shall use agreed upon pseudonyms of “Minor A” or

11 “Witness 1,” et seq.

12          13.    Nothing in this Order shall preclude a party from seeking a more restrictive protective

13 order or other court order with regard to particular discovery items.

14
                                                         Respectfully Submitted,
15
                                                         MCGREGOR W. SCOTT
16                                                       United States Attorney
17
     Dated: June 4, 2019                             By: /s/ BRIAN A. FOGERTY
18                                                       BRIAN A. FOGERTY
                                                         Assistant United States Attorney
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20
     Dated: June 4, 2019                            By: /s/ SHARI RUSK
21                                                       SHARI RUSK
22                                                       Attorney for Robert Pierre Duncan

23
            By agreement of the parties, and good cause appearing, IT IS SO ORDERED.
24
     Dated: June 4, 2019.
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26                                                       HON. EDMUND F. BRENNAN
                                                         United States Magistrate Judge
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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